Case 3:17-cv-00072-NKM-JCH Document 89 Filed 11/09/17 Page 1 of 2 Pageid#: 344
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    Yourhonor,                                                             d2k û! 227
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    Ihavereceived asum m onsand am replying on behalfofmyselfand Identity Europa,
    Inc.to CivilAction No.3:17-cv-00072-NKM.W e intend to fully utilizeallprelim inary
    m otionsand legaldefensesappropriate,butrequestadditionalreasonabledm eto
    obtain.legalcounsel.Thisisaveryim po/antlegalcaseand itisimperative to m y
    defensethatIfind adequate representation.Thankyou foryourtim e in this manner.




    Sincerely,                                              'N
    Nathan Dam igo
    (408)386-3508
    nathan.dam igo.nyf@ gm ail.com
    CC)Roben T.Cahill
    Cooley LLP
    11951 Freedom Drive
    Reston,VA 20190
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